
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

          No. 95-2088

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                    ROBERT RAPOSA,

                                Defendant, Appellant.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                                Lynch, Circuit Judge,
                                       _____________

                      Aldrich and Bownes, Senior Circuit Judges.
                                          _____________________

                                 ____________________

               Robert B. Mann, with  whom Mann &amp; Mitchell was on brief, for
               ______________             _______________
          appellant.

               Margaret Curran, with whom Sheldon Whitehouse, United States
               _______________            __________________
          Attorney, and Zechariah Chafee, Assistant United States Attorney,
                        ________________
          were on brief, for the United States.

                                 ____________________

                                     May 29, 1996
                                 ____________________






















                   LYNCH, Circuit Judge.  Following a plea of guilty to one
                          _____________

            count of  possessing heroin  with intent to  distribute, Robert

            Raposa was sentenced to a  term of 30 months imprisonment.   He

            appeals   that  sentence,  arguing   that  the  district  court

            erroneously  included  as  "relevant  conduct,"   see  U.S.S.G.
                                                              ___

              1B1.3 (Nov. 1994), his possession, with intent to distribute,

            of a substantial quantity of cocaine that the court had earlier

            ordered  suppressed as the product  of an illegal  search.  The

            consideration,  inter  alia,  of   the  suppressed  cocaine  as

            "relevant   conduct"   increased  the   defendant's  Guidelines

            sentencing range from 10-16 months to 30-37 months.  The latter

            was  the same  as the  range  that would  have obtained  if the

            defendant  had been convicted on  the cocaine count  as well as
                                _________

            the heroin count.

                   We  are asked  to  decide whether  the Fourth  Amendment

            exclusionary  rule   applies  in  the  context   of  Sentencing

            Guidelines proceedings, at least on the facts of this case.  On

            the record before us, however,  the resolution of that question

            is not necessary  to the decision of this appeal.   We decline,

            therefore, to reach that important question here, preferring to

            leave it for a future case.  Instead, we affirm the defendant's

            sentence on the  ground that the district court's findings were

            amply supported  by statements concerning the  cocaine provided

            by   the   defendant  and   incorporated  in   the  Presentence

            Investigation Report ("PSR"), and on which  he relied to obtain

            a reduction in his sentence for acceptance of responsibility.


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                                           I

                   On  February   10,   1995,  two   narcotics   detectives

            interrupted a drug  deal in  progress in an  alley in  downtown

            Providence.   The defendant, Robert  Raposa, was sitting in the

            driver's seat of a parked  white Mercury Sable, doing  business

            with several  men standing at  his window, when  the detectives

            approached   and  identified  themselves  as  police  officers.

            Raposa bolted  out of  the car  and ran,  dropping a  bundle of

            heroin  packets labelled  "Die Hard" as  he fled.   One  of the

            officers picked up the  heroin packets and gave chase.   Raposa

            was apprehended.  The officers brought him back to the scene of

            the drug deal, where they found another bundle of heroin marked

            "Die Hard" and  $140 in  cash on the  ground near the  Mercury.

            Two  beepers  were  found  on  the  defendant, and  a  cellular

            telephone in  the car.   Raposa was arrested  and taken to  the

            central police station.

                   After  a  short investigation,  the  detectives  went to

            Raposa's apartment, while the  defendant remained in custody at

            the station.  A woman answered the door.  The officers told her

            that  Raposa had been arrested.   The woman  stated that Raposa

            was her boyfriend and lived with her in the apartment.

                   What happened  next was disputed.   The government would

            later  assert that  the  woman consented  to  a search  of  the

            apartment, and  that no search  was undertaken until  a consent

            form  had been  signed.   The defendant  would contend  that no

            valid  consent  was  ever  given,  and  that  his  girlfriend's


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            signature on  the form  had been coerced.   In  any event,  the

            officers conducted a warrantless search of the apartment.  They

            seized  three  large  bags  containing over  $13,000  worth  of

            cocaine lying in a closet in one of  the bedrooms.  Back at the

            police  station, Raposa was  informed of the  seizures.  Having

            been  read his Miranda rights, he agreed to talk, and confessed
                           _______

            that the cocaine was his.

                   Raposa was  charged with  possession of  cocaine (375.21

            grams)  and  heroin  (less  than   5  grams),  with  intent  to

            distribute. After initially pleading not guilty to both counts,

            he moved to  suppress all of  the cocaine  that the police  had

            found  in his apartment,  arguing that it  was the fruit  of an

            illegal  search.   After an  evidentiary hearing,  the district

            court  granted  the motion,  finding  that  the government  had

            failed to prove that  Raposa's girlfriend had consented to  the

            search.    The defendant  subsequently  pleaded  guilty to  the

            heroin  charge  (Count  II),  and  the  government  voluntarily

            dismissed the cocaine charge (Count I).


                                           II

                   Raposa's sentence for his heroin conviction was governed

            by U.S.S.G.    2D1.1.   Under  that  guideline, the  amount  of

            heroin  possessed   by  the  defendant  (less   than  5  grams)

            corresponds  to  a base  offense  level of  12,  which, charted

            against  a  criminal  history  category of  I,  would  yield  a

            Guidelines  sentencing range  of  10-16 months.   However,  the

            district court found, over  the defendant's objection, that the

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            defendant's possession  of the  cocaine found at  his apartment

            constituted  "part of the same  course of conduct  . . . as the

            offense of conviction" under the Guidelines' "relevant conduct"

            provision.  U.S.S.G.   1B1.3(a)(2).

                   After expressing serious reservations about the fairness

            of considering  illegally seized  evidence for purposes  of the

            Guidelines'  relevant  conduct provisions,  the  district court

            concluded,  relying  on cases  from  other  circuits, that  the

            exclusionary  rule did not apply at sentencing.  The court thus

            incorporated the cocaine into the total drug quantity for which

            defendant  was to be sentenced, pushing the offense level up to

            22.     After  subtracting  three  levels   for  acceptance  of

            responsibility,  the court arrived at  a total offense level of

            19, yielding a  final sentencing  range of 30-37  months.   The

            court  imposed a sentence of 30 months, and the defendant filed

            this appeal.1


                                          III

                   To date,  five circuit  courts of appeal  have addressed

            the  issue of  whether the  Fourth Amendment  exclusionary rule

            prohibits a sentencing court from  considering illegally seized

            evidence for purposes of determining or enhancing a defendant's




                                
            ____________________

            1.  After acknowledging that defendant had raised a substantial
            issue for  appeal, the  district court granted  the defendant's
            request that he be permitted to remain released on bail pending
            appeal of the sentence.

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            Guidelines sentence.2  Each  of these courts has held  that the

            exclusionary rule  does not  generally apply in  the sentencing

            context  and  that  there  is  no  blanket  prohibition on  the

            consideration of  illegally  seized evidence  for  purposes  of

            making the findings required under the Guidelines.   See United
                                                                 ___ ______

            States  v.  Jenkins,  4   F.3d  1338,  1345  (6th  Cir.   1993)
            ______      _______

            (rejecting, as  dicta, contrary statements in  United States v.
                                                           _____________

            Nichols, 979 F.2d 402,  410-11 (6th Cir. 1993), aff'd  on other
            _______                                         _______________

            grounds, 114 S. Ct. 1921 (1994)), cert. denied, 114 S. Ct. 1547
            _______                           _____ ______

            (1994); United States v. Tejada, 956 F.2d 1256, 1262 (2d Cir.),
                    _____________    ______

            cert.  denied, 506 U.S. 841 (1992); United States v. Lynch, 934
            _____  ______                       _____________    _____

            F.2d 1226,  1236-37 (11th Cir.  1991), cert.  denied, 502  U.S.
                                                   _____  ______

            1037  (1992); United States v.  McCrory, 930 F.2d  63, 69 (D.C.
                          _____________     _______

            Cir. 1991), cert. denied, 502  U.S. 1037 (1992); United  States
                        _____ ______                         ______________

            v. Torres, 926 F.2d 321, 325  (3d Cir. 1991).  The rule adopted
               ______

            in these cases  has not been met with universal  acclaim.  See,
                                                                       ___

            e.g.,  United States v. Jewel,  947 F.2d 224,  238-40 (7th Cir.
            ____   _____________    _____

            1991) (Easterbrook, J., concurring);  McCrory, 930 F.2d at 185-
                                                  _______

            87 (Silberman,  J., concurring); Wayne R. LaFave,  1 Search and
                                                                 __________





                                
            ____________________

            2.  There  are also  several  reported cases  that address  the
            issue in the pre-Guidelines context.  See United States v. Lee,
                                                  ___ _____________    ___
            540 F.2d 1205, 1210-12  (4th Cir.), cert. denied, 429  U.S. 894
                                                _____ ______
            (1976); United States v. Vandemark, 522 F.2d 1019, 1021-25 (9th
                    _____________    _________
            Cir. 1975); United States  v. Schipani, 435 F.2d 26,  27-28 (2d
                        _____________     ________
            Cir.  1970), cert.  denied,  401 U.S.  983  (1971); Verdugo  v.
                         _____  ______                          _______
            United  States, 402  F.2d 599,  610-13  (9th Cir.  1968), cert.
            ______________                                            _____
            denied, 397 U.S. 925 (1970).
            ______

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            Seizure   1.6, at  40-41 (2d ed. Supp. 1995).3   This court has
            _______

            not yet decided the issue.

                   Although  the parties have ably argued  to us the merits

            of each side of the debate, a review of the record requires the

            conclusion  that this case  does not present  a proper occasion

            for us to decide this important question.

                   After the defendant agreed to plead guilty to the charge

            of possessing  heroin with  intent to distribute,  the district

            court ordered that  a PSR be  prepared.  In  setting forth  his

            version  of the facts for  inclusion in the  PSR, the defendant

            (through  his counsel) provided  the federal  probation officer

            with  a signed statement in which  he voluntarily admitted that
                                                  ___________ ________

            he  owned  the  cocaine that  was  found  in  his apartment  on

            February  10, 1995.   The  statement was  incorporated verbatim

            into the PSR.  It declared, in relevant part:

                   I understand the  police recovered two bundles of
                   heroin  near  my car  [on  February  10].   Those
                   bundles  of  heroin were  my  heroin.   I  accept
                   complete responsibility for  my actions.  I  also
                   accept  responsibility for  the cocaine  found at
                   [my  apartment] . . . .  I have  always  accepted
                   responsibility  for this cocaine.   At the police
                   station, on the day of my arrest I made a  signed
                   statement.  In that statement I clearly  accepted


                                
            ____________________

            3.  See also Todd Flaming, Comment, Laundering Illegally Seized
                ________                        ___________________________
            Evidence Through the Federal  Sentencing Guidelines, 59 U. Chi.
            ___________________________________________________
            L. Rev.  1209 (1992); Victor J. Miller, Note, An End Run Around
                                                          _________________
            the  Exclusionary Rule:  The Use  of Illegally  Seized Evidence
            _______________________________________________________________
            Under  the Federal Sentencing Guidelines, 34 Wm. &amp; Mary L. Rev.
            ________________________________________
            241  (1992);  Clinton  R.  Pinyan,  Comment,  Illegally  Seized
                                                          _________________
            Evidence at Sentencing: How to Satisfy the Constitution and the
            _______________________________________________________________
            Guidelines With an "Evidentiary" Limitation, 1994 U. Chi. Legal
            ___________________________________________
            F. 523 (1994).

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                   responsibility for  the cocaine.[4]  The  cocaine
                   was found  in a  spare bedroom closet.   I accept
                   complete responsibility for my  actions with  the
                   cocaine[5]  as I  did with the  heroin [footnotes
                   added].

            The defendant lodged  no objection nor attempted to reserve any

            Fourth  Amendment argument  specifically  with respect  to  the

            PSR's recounting of these  admissions.6  Indeed, based in  part

            on  these statements,  the  defendant  successfully  argued  at

            sentencing  for  a  three-level  reduction  in  his  Guidelines

            offense level under U.S.S.G.   3E1.1.

                   Whatever  force  the  exclusionary  rule  might have  at

            sentencing, it clearly could not have barred the district court

            from considering  the defendant's voluntary  statements as  set

            forth  in the PSR.  Cf. United  States v. Patino, 862 F.2d 128,
                                ___ ______________    ______

            132-34 (7th Cir. 1988) (holding  second confession not to  have

            been obtained in violation of Fourth Amendment where sufficient

            time had passed since illegal search and initial confession and

            where intervening circumstances were benign), cert. denied, 490
                                                          _____ ______





                                
            ____________________

            4.  It  appears, although  the  record is  not clear,  that the
            statement given by Raposa to the police on February 10 was also
            covered by the district court's suppression order.

            5.  The  defendant further  admitted,  elsewhere  in this  same
            statement,  that the  quantity of cocaine  he possessed  was at
            least  equal to  the amount  charged in the  indictment (375.21
            grams).

            6.  Defendant's PSR statement was not made under any promise of
            immunity.   Cf. United States  v. Conway, 81  F.3d 15 (1st Cir.
                        ___ _____________     ______
            1996).

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            U.S. 1069 (1989).7   The  portion of the  PSR containing  those

            statements, to  which defendant  declined to  object (and  as a

            result of which he received acceptance-of-responsibility credit

            under  the  Guidelines), provides  an  independently sufficient

            ground for the district court's finding at  sentencing that the

            defendant possessed the cocaine  at issue.8  See United  States
                                                         ___ ______________

            v. Blanco, 888  F.2d 907,  908-09 (1st  Cir. 1989)  (permitting
               ______

            proof at  sentencing of  uncharged quantities of  drugs through

            statements in PSR to which defendant failed to object).

                   Thus,  on  the record  before  us, the  question  of the

            exclusionary rule's applicability at sentencing has  no bearing

            on the outcome of this appeal.  Cf. New England Legal Found. v.
                                            ___ ________________________

            Massachusetts Port  Auth., 883  F.2d 157,  176 (1st Cir.  1989)
            _________________________

            ("longstanding precedent" requires courts  to "avoid ruling  on

            constitutional  issues  when  non-constitutional   grounds  are

            dispositive").   Wholly  apart  from any  consideration of  the

            suppressed  cocaine  evidence, the  portions  of  the PSR  that
                                
            ____________________

            7.  Defendant  does not and  could not credibly  argue that the
            statements recounted  in the  PSR  constituted a  fruit of  the
            illegal  search  conducted  on the  day  of  his  arrest.   The
            statement provided  by defendant  to the probation  officer was
            voluntarily submitted, presumably  with the advice of  counsel.
            Furthermore,  the  statement  was provided  after  the district
                                                        _____
            court  had ruled on the defendant's suppression motion, so that
            defendant  could make  no  claim that  he  was unaware  of  his
            rights.    The provision  of  the  statement to  the  probation
            officer  was "sufficiently  an act  of free  will to  purge the
            primary  taint"  of the  illegal search.    Wong Sun  v. United
                                                        ________     ______
            States,  371 U.S. 471, 486  (1963); cf. Brown  v. Illinois, 422
            ______                              ___ _____     ________
            U.S. 590,  608-09 (1975)  (Powell, J., concurring)  (discussing
            attenuation doctrine).

            8.  Defendant  does   not  argue  that   the  relevant  conduct
            guideline itself is unconstitutional.

                                          -9-














            recounted defendant's  admissions as to cocaine  possession, to

            which  no  objection  was  recorded, provide  clear  and  ample

            support for  the findings that  resulted in  the assignment  to

            defendant  of a total offense level of 19 under the Guidelines.

            Cf.  Murray  v.  United  States, 487  U.S.  533,  538-41 (1988)
            ___  ______      ______________

            (exclusionary  rule  does   not  affect  information  "cleanly"

            obtained through "independent source" (quoting United States v.
                                                           _____________

            Silvestri, 787 F.2d 736, 739 (1st Cir. 1986), cert. denied, 487
            _________                                     _____ ______

            U.S.  1233  (1988))).   Because this  aspect  of the  record is

            dispositive in favor of affirmance, we need not decide  whether

            the exclusionary rule applies at sentencing.


                                           IV

                   For  the  foregoing reasons,  we  decline  to reach  the

            question of  whether  the Fourth  Amendment  exclusionary  rule

            applies in  the context of  Guidelines sentencing proceedings,9

            and  we uphold the sentence imposed by the district court based

            solely on our  conclusion that it  was adequately supported  by

            the facts established in the unobjected-to portions of the PSR.
                                
            ____________________

            9.  We  therefore  need  not  comment  on  the  merits  of  the
            government's contention at  oral argument  that any  unfairness
            that might  result from not  applying the exclusionary  rule at
            sentencing could  be alleviated by invoking,  as warranted, the
            due    process    prohibition   against    "sentencing   factor
            manipulation."  See United States v. Egemonye, 62 F.3d 425 (1st
                            ___ _____________    ________
            Cir.  1995);  United States  v. Montoya,  62  F.3d 1  (1st Cir.
                          _____________     _______
            1995);  cf. Jenkins, 4 F.3d  at 1345 (exclusionary  rule may be
                    ___ _______
            applied  at sentencing,  as  exception to  general rule,  where
            defendant shows that illegal  search was conducted for specific
            purpose of obtaining sentence enhancement); Tejada, 956 F.2d at
                                                        ______
            1263  (same); McCrory, 930 F.2d  at 69 (same);  cf. also Lynch,
                          _______                           ________ _____
            934 F.2d  at 1237  n.15 (reserving the  question); Torres,  926
                                                               ______
            F.2d at 325 (same).

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                   Affirmed.
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